Case 2:98-cv-03081-SH|\/| Document 36 Filed 05/17/05 Page 1 of 2 Page|D 33

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IN THE UNITED sTATEs DISTRICT CoURT 4 55 W g c
FoR THE WESTERN DIsTRICT oF TENNES ssi ' ' “ "' "“
WESTERN DWISION 05 utu 1 7 PM l= he
REYNERO ARTEAGA CARBALLO, W. D- ,;;j;;~-a;i_;_ §,;EETEFH,'S
Plaintiff,
vs. No. 93_3081-Ma

WARDEN MARK LUTTRELL, JR.,
IMMIGRATION AND NATURALIZATION
SERVICE, et al.,

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court is Defendants’ January 21, 2005 motion to dismiss Plaintiff has not yet
responded to the motion, and the time for response has passed

Plaintiff is hereby ordered to show cause Within eleven (l 1) days from the date of this order
as to why Defendants’ motion should not be granted

IT Is so oRDERED this m 'S‘ay OfMay 2005.

_,W/¢»M\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tnis document entered on the docket sheet in compliance

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UNITED `STTESA ISTRIC COURT - WESTRNE DISITRCT 0 TNNESSEE

   

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This notice confirms a copy of the document docketed as number 36 in
case 2:98-CV-03081 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

